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 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )         CR. NO. S-05-0238-FCD
                                   )
11                  Plaintiff,     )
                                   )         STIPULATION AND ORDER
12                                 )         TO SET NEW DATE FOR T.C.H.
          v.                       )         AND MOTIONS HEARING AND
13                                 )         TO REVISE BRIEFING SCHEDULE
                                   )
14   DALE C. SCHAFER, and          )
     MARION P. FRY,                )         Date: July 13, 2007
15    aka Mollie P. Fry,           )         Time: 2:00 p.m.
                                   )         Hon. Frank C. Damrell, Jr.
                    Defendants.    )
16   ______________________________)
17        It is hereby stipulated and agreed, by and between the
18   defendants, Dale Schafer and Marion Fry, by and through counsel,
19   Laurence J. Lichter, and the United States, through its counsel,
20   Assistant United States Attorney Anne Pings, to vacate the TCH
21   and motions-in-limine hearing date of June 22, 2007, and to set a
22   new TCH and motions-in-limine hearing date of July 13, 2007, at
23   2:00 p.m.   This specially-set hearing time was approved by the
24   Court's deputy clerk.
25        Both parties have already filed their affirmative motions in
26   limine.   Due to pressing matters in other ongoing criminal
27   investigations, the government is unable to file its oppositions
28   to defendant's motions by June 15, 2007.       The government

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 1   requested a revised motions hearing schedule and the defendants
 2   have agreed to the proposed schedule.      The proposed schedule does
 3   not impact the currently scheduled trial date of July 31, 2007.
 4        The parties have agreed to the following schedule :
 5                              Current Date      New Date
 6   Motion Oppositions due:    6/15/07           6/25/07
 7   Replies due                6/19/07           6/29/07
 8   TCH /Motions Hearing       6/22/07           7/13/07
 9        Time would be excluded under the Speedy Trial Act for the
10   pendency of motions.
11        Mr. Lichter verbally represented to the undersigned
12   prosecutor that he agreed to the schedule on behalf of defendant
13   Fry and had the authority to agree to the schedule on behalf of
14   defendant Schafer's counsel, J. Tony Serra.
15   DATED: June 14, 2007                    Respectfully submitted,
16                                           McGREGOR W. SCOTT
                                             United States Attorney
17
                                             /s/ Anne Pings
18                                           Assistant U.S. Attorney
19                                           /s/ Laurence J. Lichter
                                             by Asst. U.S. Attorney Pings
20                                           with permission
21                                           /s/ J. Tony Serra
                                             by Asst. U.S. Attorney Pings
22                                           with permission of L. Lichter
23
          IT IS SO ORDERED.
24
25
     Dated: June 20, 2007
26
27                                     _______________________________________
                                       FRANK C. DAMRELL, JR.
28                                     UNITED STATES DISTRICT JUDGE

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